                          Case 3:22-cr-00184-SI               Document 7        Filed 06/17/22        Page 1 of 1


AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                              District of Oregon


                  United States of America
                                 V.                                   )
                                                                      )       Case No.     3:22-cr-00184-SI
                MICHAEL JAMES DEFREES                                 )
                                                                      )
                                                                      )
                                                                      )
                              Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        Michael James Defrees
                                  -----------------------------------
who is accused of an offense or violation based on the following document filed with the court:

~ Indictment              0    Superseding Indictment         0 Information        0 Superseding Information        O Complaint
n     Probation Violation Petition           n   Supervised Release Violation Petition      nViolation Notice       n Order of the Court

This offense is briefly described as follows:
    Wire Fraud
    Bank Fraud
    Money Laundering




Date:       05/17/2022                                                                                  s/D. Norris
                                                                                                  Issuing officer ·s signature

City and State: -~P~o~r~·t~la~n_d~,~O~re__,g_o~n_ __                                             D. Norris, Deputy Clerk
                                                                                                    Printed name and title


                                                                    Return

          This warrant was received on (date) 5/17 /202 1                 , and the person was arrested on (date)     6/2sho12.
at (city and siate) Lal<e, Y11vt1SU C;Ju, Arilal?cl
                                                 i
Date:
